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167 N. Main Street

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Mr. Lee Howard Gerald
Law O£fice of Lee Gerald
8 S. Thixd Street

Fourth Floor

Memphis, TN 38103

RE: 04-6465
USA VS. Roberson
District Court No. 03-20232

Dear Counsel:

Enclosed is a copy of an order which was entered today in the above-
Styled case.

 
 

truly yours,
Leon rd Green, Cler

   
 
   
 

     

(Ms.) Audrey C oc ett
Case Manager

cc:
Honorable Samuel H. Mays Jr.
Mr. Robert R. Di Trolio

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FOR THE sIXTH CIRCUIT F l l E §
UNITED sTATEs oF AMERIC APR 2 9 2005
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Piaimiff-Appeuee, _EOR YOUR il\it;ostvas"t‘a;;is LEONARD GREEN, mark
v. § Q R D_ _E §
sHANTEL THOMAS RoBERsoN, §
Defendant-Appellant. §

Before: KEITH, COLE, and SUTTON, Circuit Judges.

The defendant appeals his conviction and sentence on a plea of guilty of fraud and related
activity in connection With identity theft The government moves for a remand to the district court
for resentencing consistent With United States v. Booker, 543 U.S. _, 125 S. Ct. 738 (2005). The
defendant agrees that a remand for resentencing is Warranted.

The motion to remand is granted, the defendant’s sentence is VACATED, and the case is
REMANDED to the district court for resentencing consistent With the Supreme Coul't’S decision

in Booker.

ENTERED BY ORDER OF THE COURT

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with Rnle 55 and/or 32be FRCrP on

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Notice of Distribution

This notice confirms a copy of the document docketed as number 74 in
case 2:03-CR-20232 Was distributed by faX, mail, or direct printing on
May 6, 2005 to the parties listed.

 

 

Lee Hovvard Gerald

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Honorable Saniuel Mays
US DISTRICT COURT

